IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING

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Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. YOR..

SHORT FORM'

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(Copies of said Order having aiso been filed in Civil Actions No. 10-8888 and 0;2771) “he,
MDL 2178 SECTION: J _ JUDGE citation OL “Ly
IN- MASTER ANSWER INTER Iss mo

~ CLAIM IN-LIMITATK

IN MASTER COMPLAINTS NOLAN TIEPIGLAMEANT PROPLE FORM

filed in MDL No. 2179 (10 md 2179).
_ First Name

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By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing G GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

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INDIVIDUAL CLAIM

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ity / State / Zip

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if yes, BP Claim No.:

Claim Type (Please check all that apply}:

Damage or destruction to real or personal property
Eamings/Profit Lass
Personal Injury/Death

| Employer Name ‘Business Name

“0b? Tuto ~ Type of Business ee
Address "Address ~ |
City / State / Zip : City / State / Zip

Last 4 digits of your Social curity Number - Last 4 digits of your Tax ID Number oe |
Attomey Name Firm Name

Address City/State/Zip OO oe
“Phone Number "E-Mail Address :

Claim Filed with GCCF?:

Yes NO

If yes, Claimant identification No:

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other:

1 This farm should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Shert Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in CA. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shall also serve in feu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Brief Description:

1. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

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2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and compiete authorization forms for each,

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3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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Tha filing of this Direct Filing Short Form shall atso serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Farm.

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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and P Damage Claims (Bundle Bi

oO 1. Commercial fisherman, shrimper, crabber, of oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

oO 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.
oO 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Guif of Mexico.

Oo 4. Commercial business, business owner, operator or worker, including commercial divers, offshore cilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.
5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
ol 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

CT 7 Owner, lessor, or lessee of real propert y alleged to bea damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

oO 8. Hotet owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.
O 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.

Ng 10. Person who utilizes natural resources for subsistence.
LJ 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Pro Damage Related to Cleanup (Bundle B3
(11. Boat captain or crew involved in the Vessels of Opportunity program.
oO 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

Oo 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

oO 4. Clean-up worker of beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
NG 5. Resident whe tives or works in close proximity to coastal waters.
(1s. Other:

Both BP and the Gulf Coast Claim s Facility ((GCCF”) are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payrnent on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Pratecting Confidentiality (Pre-Trial Order No. 11), and subject to fuli copies of same being made available to bath
the Plaintiff (or his attomey if applicable) filing this form and PSC through Piaintiff Liaison Counsel.

Micoe| C. Conk

Print Name

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Date

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The filing of this Direct Filing Short Form shall also serve in Heu of the requirament of 2 Plainiiff to file a Plaintiff Profife Form.

